                                          1:17-cv-01466-JBM # 31                                        Page 1 of 3
                                                                                                                                                                E-FILED
                                                                                                                         Monday, 27 August,
                                                                                                                                       !      2018 01:24:29 PM
                                                              ILUNOIS DEPAimieNT OF CORRECTIDNS                                  Clerk, U.S. District Court, ILCD
                                                                OFFENDER'S GRIEVANCE

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 Data:
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                                             Cc€i!i Ciji lit:
 NATURE OF GRIEVANCE:

   □ Personal Property                     □ Mall Handling     □          atlon of Good rune                           Disability Aocommodatli^
   □ Staff Conduct                         □ Dietary           C9         rl Treatment                          □ HIPM                       I
                                                                                                                GT^har
   □ Transfer Denial by Facility           □ Transfer Denial by Transfer Coortlnator
                                                                                                                    iM/Jct
   □ Diedpllnety Report:                                L
                                         DBlagr Report                                                    Fadmywtierstesirtd                              I


         Note:    Protscttve Custody Denials may be gtleyed bnmsdlateiy via the Iseal admhlslratlon on the prolectivo oistody status noiilicatiot.
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     Admlnislrstlve Officer.
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B^heck only If this la an BffiRGENCY grievance due to e subslential risk of bnmlnsnt personal Itrfuty or other aertous or Irraparabls hartrt tojssK.
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                                                        Counselors Response (if appiieabiej
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                                                                                                      Admrnlafratlve Review Board. P.O. Box lazTr,
                                                                                                      SpringHsId, II. e27g4-9277
Response: _
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                                                                EMERGENCY REVIEW
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                                           Williams v. Wexford (USDC C.D. III. 17-1466) Wexford Bates #000171
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                                               1:17-cv-01466-JBM # 31                       Page 3 of 3



                                                       ILUNDIS DEPARIMBJT OF COHHECTIOMS

                                                      Administrative Review Board
                                                 Return of Grievance or Correspondence



Offender     :        U hihams.  La5lNaina                                      FirctNamB                                            i0(



 Facility:                        LP


     Grievance: Fadlitjr 6rievarw» # p appiioablB)                     Dated:                          or n Correspondence; Oaiao:

 Received: Q/f^//L. Regarding;                 hmUrcl
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The attached grievance or correspondence is being returned for the following reasons:
Additional information required:                                                                                                       j
 ^O^rovide a copy of your written Offender's Grievance, DOC 0046, including the counselor's response, if applicable.                       1
  ^^tovide a copy of the Response to Offender's Grievance, DOC 0047, including the Grievance Officer’s and Chief Adrliirtlstralive
      Officer’s response, to appeal.                                                                               I
   □ Provide dates of disciplinary reports and facility where inddents occurred.
    □ Unable to determine nature of grievance or correspondence; submit additional specific Information. Please return the attached
      grievance or correspondence with the additional infoimation requested to: Administrative Review Board
                                                                                Office of Inmate Issues
                                                                                1301 Concordia Court
                                                                                Springfield, IL 62794-9277________________

Misdirected:
   □ Contact your correctional counselor regarding this issue.
    □ Request restoration of Statutory Sentence Credits to Adjustinent Committee. If the request is denied by the facility, irilize the
      offender grievance process ouUfned in Department Rule 504 for further consfderation.
    □ Contact the Record Office with your request or to provide additional infoimation.
    □ Personal property issues ate to be reviewed at your current facility prior to review by the Administrative Review Boarc.
    □ Address concerns to: Illinois Prisoner Review Board
                           319 E. Madison St., Suite A
                           Springfield. IL 62706_____________________________________________________

No further redress:
   □ Award of Supplemental Sentence Credits are discretionary administrative decisions; therefore, this issue will not be addressed
       further.
    □ Not submitted in the timeframe outlined in Department Rule 504; therefore, this issue will not be addressed further.
    □ This office previously addressed this issue on____
                                                                Data
    □ No justification provided for additional consideration.


Other (specify):
                                                                                                                Z
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Completed by:                    Debbie Knauer
                                     PrMName
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Distriburion: Oftender                                       Piinferf on AcftvM Affs*                                         DC
                 inmate Issuer
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